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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                 AT COVINGTON

CRIMINAL ACTION NO. 15-42-DLB-CJS-3

UNITED STATES OF AMERICA                                                       PLAINTIFF


V.            ORDER ADOPTING REPORT AND RECOMMENDATION


KEVIN R. MITCHELL                                                            DEFENDANT

                          **   **   **   **       **   **   **   **

      This matter is before the Court upon the May 5, 2017 Report and Recommendation

(“R&R”) of United States Magistrate Judge Candace J. Smith, wherein she recommends

that the Court revoke Defendant Kevin Mitchell’s supervised release. (Doc. # 81). During

the Final Revocation Hearing (Doc. # 80) conducted by Judge Smith on May 3, 2017,

Defendant stipulated to violating the terms of his supervised release, as set forth in the

April 26, 2017 Amended Violation Report (Sealed Doc. # 79).

      Defendant having executed a waiver of his right to allocution (Doc. # 78), and both

parties having waived the time for filing objections to the R&R (Doc. # 80), this matter is

now ripe for the Court’s consideration.       The Court having reviewed the R&R, and

concluding that it is sound in all respects, including the recommended sentence and the

basis for said recommendation, and being otherwise sufficiently advised,

      IT IS ORDERED as follows:

      (1)    The Magistrate Judge’s Report and Recommendation (Doc. # 81) is hereby

ADOPTED as the findings of fact and conclusions of law of the Court;

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       (2)    Defendant is found to have VIOLATED the terms of his supervised release;

       (3)    Defendant’s supervised release is hereby REVOKED;

       (4)    Defendant is sentenced to the CUSTODY of the Attorney General for a term

of imprisonment of 6 months, with credit for time served since his April 24, 2017

detention, with a 2-year term of supervised release to follow on the same terms and

conditions previously imposed. In addition, immediately upon Defendant’s release, he is

to be placed in a residential treatment program as directed by the Probation Office;

       (5)    The Court recommends that the Bureau of Prisons place Defendant at the

federal correctional facility located in Ashland, Kentucky, for service of the sentence

imposed; and

       (6)    A Judgment shall be entered concurrently herewith.

       This 11th day of May, 2017.




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